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 5   *****I DO consent to service by email.*****
 6
 7
 8
 9                   IN THE UNITED STATES DISTRICT COURT
10                      FOR THE DISTRICT OF NEW JERSEY
11   Taiming Zhang                     )    Case No. 2:24-cv-04055
12                                     )    clarification; letter to court;
13   Interested Party, movant          )    additional exhibit for motion to dismiss
14                                     )
15                                     )
16                                     )
17                                     )
18   1. I did refer to this as this is in the CAND complaint. I apologize for not
19      having explicitly mentioned this. UK consumer group “which?” tested
20      iPhones and found out that their battery life can be as bad as half as
21      advertised, with the XR being exactly half as advertised. According to UK
22      consumer group Which?, in tests of nine iPhone models, all of them fell
23      short of Apple’s battery life claims by between 18 and 51 percent. The
24      advertised battery life is advertised with a detailed statement by Apple as
25      to how they achieved such results, under what particular circumstances,
26      and the consumer group followed exactly Apple’s statement and tested that
27      the devices have HALF the battery life under those very conditions
28      stated by Apple. This is of course a result of the bad PMUs in the devices,
29      wasting battery in electrocuting and overheating the parts and burning
30      human hands with electricity. This is now clarified as an important part.
31   2. I stated in the CAND complaint that speakers popping and making
32      explosive noises is a consequence of the bad PMUs. Their latest products,
     Clarification                         -1-
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1       the iPhones, iPads (incl. M4 iPad Pros), and apple silicone macs are still
2       popping. I clarify/add that speaker popping is still an issue after this many
3       years and their latest products are still popping. Note that the popping is
4       separate from the distortion at high volume, with it being above 50%
5       volume on the iPhone 15 PM. Popping refers to an explosive pop sound. The
6       videos of speakers popping on the latest M4 iPad Pros and Apple silicone
7       Macs is in the 2024 update folder on the website I mentioned. I again
8       remind all that failure to deny is admission per FRCP.
9    3. I stated this briefly in the motion that the DOJ failed to plead handoff and
10      other monopoly behaviors by Apple. I hereby clarify that submitting an
11      incomplete complaint to court constitutes a separate count of abuse of
12      discretion. It’s not just handoff, there’s handoff, iMessage, FaceTime, Notes,
13      and many other features that can only be accessed through Apple devices.
14      There is also keeping RCS out and restricting its users (iPhones) from using
15      the carrier 3G or 4G or 5G video calls through cellular or carrier network,
16      i.e. iPhones can only video chat w/ iPhones. The list of monopoly behavior
17      is long and it seems to me that even on a prima facie basis, the DOJ’s
18      pleading is incomplete and left out many more egregious actions by Apple.
19   4. The plaintiffs amended the complaint, and stated the only changes between
20      the original Complaint and the First Amended Complaint are the addition
21      of (i) a few states as plaintiffs and (ii) a seventh cause of action under
22      Tennessee state law. ECF No. 52. I clarify that my motion to dismiss
23      remains, as the Amended Complaint doesn’t alter the case.
24   5. The fact that the 15 PM is slower than both the 14 PM and 13 PM need not
25      be separately reported to the FBI or DOJ, for it is the same fraudulent
26      scheme with the PMU which scheme was reported to the FBI and DOJ, and
27      for the DOJ should have noticed it in protecting public interest. As for the
28      weaker titanium body, DOJ’s duty to public interest obliges them to notice.

     Clarification                         -2-
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1   Declaration
2   I declare under penalty of perjury under the laws of the United States of America
3   that the foregoing is true and correct. (In accordance with 28 U.S. Code § 1746)
4
5                                                        _________________________
6                                                           Taiming Zhang, movant




    Clarification                         -3-
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Apple’s iPhone battery life claims are greatly exaggerated, study says                490 下午12:57



       Apple’s iPhone battery life claims
       are greatly exaggerated, study says
       By Christopher Carbone, Fox News




       Getty Images


       Apple is exaggerating the maximum battery life for several of its iPhones,
       a new consumer advocacy report concludes.

       According to UK consumer group Which?, in tests of nine iPhone models,
       all of them fell short of Apple’s battery life claims by between 18 and 51
       percent.

       The group carried out tests to determine average talk time for a range of
       models, including the iPhone XR, which had the biggest overestimation for
       talk time on a full charge. In Which? tests, it lasted for 16 hours and 32


https://nypost.com/2019/05/07/apples-iphone-battery-life-claims-are-greatly-exaggerated-study-says/   第1⾴（共2⾴）
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Apple’s iPhone battery life claims are greatly exaggerated, study says                491 下午12:57


       minutes — whereas Apple said it would last 25 hours.

       “With mobile phones now an essential part of everyday life, we should be
       able to count on our handsets living up to the manufacturer’s claims,” said
       Natalie Hitchins, Which? head of home products and services, in a
       statement.

       “There are clearly questions here around how long some mobile phone
       batteries will last and so it’s important to make sure you find an
       independent source of reliable information when buying your next phone,”
       Hitchins added.

       Which?, a consumer advocacy group that tests a wide range of products
       regularly, is seen as the British version of America’s Consumer Reports.

       Apple disputed the results in a statement to Business Insider.

       “We rigorously test our products and stand behind our battery life claims.
       With tight integration between hardware and software, iPhone is
       engineered to intelligently manage power usage to maximize battery life.
       Our testing methodology reflects that intelligence. Which? haven’t shared
       their methodology with us so we can’t compare their results to ours. We
       share our methodology for testing which we publish in detail here.”

       In order to complete its testing, Which? examined over 50 mobile phones
       from five popular brands. It purchased the phones at full battery strength
       and timed how long they lasted when making continuous calls. It also ran
       other tests before making a ruling on battery life.

       Fox News reached out to Apple for comment on the study.




https://nypost.com/2019/05/07/apples-iphone-battery-life-claims-are-greatly-exaggerated-study-says/   第2⾴（共2⾴）
